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                                                                                              EXHIBIT 1




                           Memorandum of Understanding
                                      between
                        The Government of the State of Israel
                                         And
                  The Government of the United States of America
          On Extension of Reciprocal Privileges and the Visa Waiver Program


The Government of the State of Israel (“Israeli Participant”) and the Government
of the United States of America (“U.S. Participant”) (herein collectively the
“Participants”),

Reflecting the long-standing and close relationship between the United States and
Israel based on our shared interests and shared values, and in support of shared
efforts to advance the Israeli Participant's entry into the U.S. Visa Waiver Program
(VWP),

Desiring in this regard to further deepen the close ties and relationship between
the United States and Israel based on our shared interests and values by clarifying
the extension of reciprocal privileges by Israel to all U.S. citizens and nationals,

The Participants have jointly decided:

Section 1

1. The Participants commit to the following principles:

    a. All U.S. citizens and nationals traveling with a U.S. passport (hereinafter
       “U.S. citizens”) are to be recognized by Israel as U.S. citizens1;

1 The U.S. Participant understands that Israeli law requires a U.S. citizen and national who is also an Israeli citizen
to enter and depart Israel on an Israeli passport. The Israeli Participant has assured the U.S. Participant that it
intends that U.S. citizens who were born in, hold nationality in, or have travel documents from another country will
be able to travel under VWP consistent with this Memorandum. This assurance includes, but is not limited to,
countries Israel considers under its law to be “enemy state” nationalities (Iran, Iraq, Lebanon, Syria), as well as U.S.
citizens who were born in, hold nationality in, or have travel documents from Bahrain, Egypt, Jordan, Morocco,
South Sudan.
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   b. All U.S. citizens are to receive equal treatment regardless of national origin,
      religion, or ethnicity while seeking to enter, exit, or transit through Israel;
   c. All U.S. citizens are to be evaluated for entry into Israel under the same
      standards, consistent with the principles in this Section, and such standards
      are to be implemented before Israel may be designated as a program
      country in the VWP; and

   d. Recognizing Israel’s legitimate security, criminal, health or immigration
      concerns may provide the basis for denial of visa-free entry into Israel of
      certain individuals, and noting that our cooperation under the VWP,
      including our information sharing obligations and commitments, is
      intended to help address our mutual concerns; nevertheless, security,
      criminal, health and immigration concerns are not intended to be applied in
      a manner so as to undermine the principles described in this Section,
      including equal treatment for U.S. citizens of Arab, Middle Eastern, or
      Muslim origin.

Section 2


1. Any U.S. citizen requesting to enter Israel, for short term travel for a period
   not exceeding 90 days for nonimmigrant business, tourist, and transit
   purposes (hereinafter “covered VWP travel”), or any U.S. citizen exiting Israel,
   may do so via any Israeli port of entry to include Ben Gurion Airport.

2. Israel intends to put into place and implement its “Marom” system, which is to
   be used in administering all visa-free travel to Israel for all U.S. citizens,
   including those who reside in the West Bank. Once in place, as part of the
   process of entering Israel for covered VWP travel, and as with any other citizen
   of a foreign country, the U.S. citizen’s details are expected to be checked
   through the Marom system’s constituent databases, including relevant
   security, criminal, health, and immigration sources, before arrival in Israel.
   While Israel expects Marom to be operational by the end of 2023 (initially on a
   voluntary basis and then on a mandatory basis no later than May 1, 2024), and
   subject to internal regulations, the Participants do not intend that delays in the
   full operation of the Marom system are to impede implementation of this
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    Memorandum of Understanding (hereinafter the “Memorandum”) or impede
    covered VWP travel. To achieve full reciprocity for all U.S. citizens and
    nationals, the Israeli Participant further understands the U.S. Participant’s
    intent to implement remedial measures should the Marom system not be fully
    operational and available for all U.S. citizens by May 1, 2024. Under U.S. law,
    the Secretary of Homeland Security has broad discretion to undertake
    remedial measures, including in consultation with the Secretary of State, the
    suspension or termination a country from the VWP.
3. A U.S. citizen, including an individual listed on the Palestinian population
   registry, who requests entry into Israel for covered VWP travel is expected to
   be routinely approved, unless by exception security, criminal, health, or
   immigration concerns justify a different result based on the uniform
   application of legal standards established in Israeli law. In these exceptional
   cases, the Participants understand that Israel intends to deny the entry of a
   U.S. citizen who raises security, criminal, health, or immigration concerns and
   direct the U.S. citizen to seek a visa or permit for travel to Israel. Similarly, it is
   understood that Israel may revoke a given permit if information raising
   security, criminal, health, or immigration concerns is found or received during
   the duration of the permit.
4. Any U.S. citizen who enters Israel for covered VWP travel may travel
   throughout Israel, and may also enter and exit the West Bank, subject to the
   same standards and treatment applied to all U.S. citizens. 2
5. The Participants understand that the principles and commitments in this
   Memorandum supersede all applicable Coordinator of Government Activities
   in the Territories (COGAT) rules and regulations including those concerning
   entry into the West Bank by U.S. citizens who also are seeking entry into Israel
   for covered VWP travel.

Section 3

1. For further clarity, the Participants understand that the principles and the
   commitments described in Section 1 and Section 2 of this Memorandum apply
   to all U.S. citizens, including those listed on the Palestinian population registry.
   The Participants intend to facilitate implementation of this Memorandum
2 The U.S. Participant understands that the Israeli participant also refers to the West Bank as Judea and Samaria.
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   using an interim process for a U.S. citizen who is a Resident of the West Bank
   (U.S. RWB), as described in paragraph 2 of this Section. The interim process is
   to expire by May 2024, at which time the Marom system described in Section 2
   is to be fully operational and available to all U.S. RWB. The Participants
   understand that expiration of the interim process described in this Section
   does not prevent a U.S. RWB from choosing to use the process described in
   this Section in lieu of the Marom system even after that system is fully
   operational.

2. To this end, the Israeli participant intends that covered VWP travel of U.S.
   RWB proceed in a manner that is consistent with that of all other U.S. citizens.
   At such time as the Marom system is operational and integrated with the
   COGAT system, as described in Section 2, paragraph 2 of this Memorandum,
   and becomes operational for covered VWP travel, the Marom system is to be
   available to U.S. RWB. Prior to the Marom system being operational, the U.S.
   RWB who requests entry to enter Israel for covered VWP travel by applying for
   a permit through an online application (app) maintained by COGAT or in
   person through established systems. The Israeli Participant intends that a U.S.
   RWB will only need the COGAT permit (and biometric U.S. passport) to enter
   Israel, and while the COGAT biometric card may facilitate entry into Israel, it
   will not be required of a U.S. RWB.

3. The U.S. RWB's request for covered VWP travel using the COGAT app is to be
   reviewed consistent with the principles and commitments described in
   Sections 1 and 2 of this Memorandum, and is expected to be approved, except
   in the exceptional circumstances described in Section 2, paragraph 3 of this
   Memorandum. The U.S. RWB is to be issued a permit to travel throughout
   Israel for covered VWP travel, which is to be valid for as long as their U.S.
   biometric passport is valid for multiple entries for covered VWP travel,
   including to re-enter Israel at any port of entry. In the exceptional case that a
   U.S. RWB is denied entry for covered VWP travel, the Israeli Participant intends
   to inform the U.S. RWB of this decision consistent with its commitments in
   Section 2, paragraph 3 of this Memorandum, including direction on how to
   seek a visa or permit for entry. The Israeli Participant does not intend that the
   process set forth in this section affect West Bank entry and exit via Allenby
   Bridge. The Israel Participant intends that a U.S. citizen traveling under a U.S.
   passport who wishes to cross the Allenby Bridge with the intent to enter Israel
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    is to be allowed to do so for covered VWP travel consistent with this
    Memorandum.

4. The Participants share concerns regarding travel to Gaza given current security
   threats but recognize that U.S. citizens reside there. When entry points
   between Israel and Gaza become accessible for routine travel, the Participants
   intend U.S. citizens may travel from Gaza to Israel for covered VWP travel
   consistent with the principles and commitments set out in this Memorandum
   and in a manner consistent with all other U.S. citizens. Until such time as
   covered VWP travel is possible, the Participants have described in Annex B the
   parameters for facilitating travel to and from Gaza.

5. The Participants understand that this Memorandum may be implemented
   without any need for changes in Israeli primary legislation or U.S. law. 3 The
   U.S. Participant intends that Israeli citizens traveling to the United States also
   will be treated in a manner consistent with the principles and commitments
   set out in this Memorandum.

Section 4

1. The principles and commitments described in this Memorandum are
   understood to be consistent with the Participants’ national laws, policies, and
   international obligations. Nothing in this Memorandum is intended to apply to
   principles and commitments not otherwise addressed in this Memorandum, to
   include Israel’s requirements for activating lockdown of its borders or
   regulations applicable to use of Israeli vehicles and vehicle transit.

2. The Participants understand that the U.S. Participant is statutorily required to
   evaluate the effect of each program country’s initial and continued designation
   in the VWP and determine whether any such designation should continue.
   Further, the U.S. Participant is statutorily required to submit a written report
   to the U.S. Congress on the status of the designation on U.S. national security,
   law enforcement, and immigration interests. To this end, as set out in Annex
   A, the Participants are to document and review consistent application of the
   Israeli Participant’s commitments under this Memorandum.


3 The U.S. Participant understands that for Israel to activate the Marom system the Israeli Participant requires a
change to its laws to collect the biometrics of foreign travelers and is in the process of considering such legislation.
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3. Participation under this Memorandum commences upon signature by the
   Participants.

4. Understanding this Memorandum is integral to Israel’s participation in the
   VWP, and that the implications for Israel’s potential failure to meet the VWP
   reciprocity requirement are described in Annex A, either Participant may
   discontinue implementation of this Memorandum at any time but is expected
   to provide at least 30 days written notice to the other Participant.

5. Nothing in this Memorandum is intended to give rise to rights or obligations
   under domestic or international law.


   Signed at __________________, on ______________, in duplicate in the
   English language.



    FOR THE GOVERNMENT OF THE              FOR THE GOVERNMENT OF THE
    STATE OF ISRAEL:                       UNITED STATES OF AMERICA:
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                                    Annex A
       Evaluating Implementation of the Memorandum of Understanding
                                   between
                     The Government of the State of Israel
                                     And
                The Government of the United States of America
       On Extension of Reciprocal Privileges and the Visa Waiver Program

Israel’s participation in the Visa Waiver Program (VWP) means it will extend
reciprocal privileges to all United States citizens and nationals, just as the United
States extends to the citizens of all VWP countries (“reciprocity”). The United
States and Israel have clarified their commitments regarding reciprocity in a U.S.-
Israel Memorandum of Understanding (MOU) on the Extension of Reciprocal
Privileges and the Visa Waiver Program. This Annex to the MOU sets out
measures for implementing and evaluating the MOU:

        Measures to Support Implementation and Evaluation of the MOU

1) Israel Finalizes and Publishes New Travel Regulations and Standard
   Operating Procedures (SOPs), and Confirms Officers Receive On-going
   Training in these Regulations and SOPs: Prior to nomination in the VWP, the
   GOI publishes on a public-facing website its revised travel regulations that
   detail its implementation of the MOU and provides U.S. travelers with access
   to these updated regulations. The GOI continuously maintains these
   regulations and SOPs after designation; the GOI confirms that officers receive
   on-going training in these regulations and SOPs.
   a. Travel Regulations: Israel issues and publishes, including on the websites of
       the Israeli embassy and Israeli consulates in the United States, new travel
       regulations reflecting the commitments in the MOU, to include an explicit
       statement of the core principles set out in Section 1 of the MOU. Israel’s
       regulations state that discrimination – the unfavorable treatment of a
       person, or group of persons, based on several factors which can include
       their national origin, religion, or ethnicity – is unacceptable. These
       regulations detail the application of Section 2 and Section 3 of the MOU for
       short term travel to Israel. The regulations specify that a U.S. citizen who
       requests entry into Israel for covered VWP travel is expected to be
       routinely approved, unless by exception security, criminal, health, or
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      immigration concerns, justify a different result based on the uniform
      application of legal standards established in Israeli law.
   b. SOPs: GOI develops, promulgates, and implements new standard operating
      procedures for Israeli officials working at ports of entry and crossing points
      regarding the commitments set out in the MOU that detail how such
      officials will implement the updated travel regulations. Israel translates and
      shares the updated SOPs with the USG in English.
   c. Training: GOI develops, distributes, and continuously implements training
      materials for Israeli officials working at ports of entry and crossing points
      regarding the updated travel regulations and SOPs, to include training that
      assists officials in meeting the GOI commitments set out in the MOU. Israel
      shares its training materials with the USG in English and confirms on-going
      training.

2) Israel Reports Relevant Statistics to the United States : The GOI shares
   essential statistics at twice-yearly intervals to validate actual travel to Israel
   under the VWP and implementation of the commitments in the MOU.
   Additionally, the GOI, in cooperation with U.S. Embassy Jerusalem, facilitates
   random spot checks of traveler data concerning denials of travel under the
   VWP and the reasons for denial from a selected time period, e.g., a particular
   day or week. To share this data, Israel takes the following steps:
   a. General Travel Statistics: The GOI requires the competent agencies to
        report to a central authority relevant statistics on travel under the VWP,
        including denials of applications for entry, visas, or other travel
        authorizations.
   b. Port of Entry Denial Statistics: The GOI requires the competent agencies to
        report to a central authority relevant statistics, including persons referred
        or detained for enhanced screening, questioning, or examination on entry
        and exit via ports of entry controlled by the Israeli government including at
        a land border, seaport, a land crossing, or at Ben Gurion or Ramon Airport.
   c. Reporting to the United States:
      i. If a U.S. citizen traveler is denied due to public security concerns related
          to serious crime or terrorism, the GOI provides relevant information to
          the USG with urgency, through appropriate channels at U.S. Embassy
          Jerusalem.
     ii. The GOI provides to the USG a report containing data on travel under the
          VWP that lists the total number of VWP travelers and the total number of
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         denials (prior to travel and at entry). Data contained in the report is
         further broken down into the wide range of categories under which the
         travelers were denied, and whether they were denied entry at a land
         border, seaport, a land crossing, or at Ben Gurion or Ramon Airport. To
         assess implementation of Section 3 of the MOU, the GOI should also
         include data on the denials of entry of U.S. RWBs, including at West Bank
         crossings into Israel, and the denials of COGAT permits to U.S. RWBs.
   iii. The GOI provides U.S. Embassy Jerusalem with an audit of its denials of
         travel under the VWP six months and 18 months after designation into
         the VWP. At a minimum, this audit includes a breakdown of the traveler
         type (age range, gender, place of birth, and reason(s) for denial of
         covered VWP travel over the past year). Raw data might be requested by
         the U.S. Participant on an ad hoc basis to include port-of-entry, gender,
         date of birth, and other citizenships, and the Israeli Participant intends to
         provide it in a manner consistent with Israeli law. The Israeli Participant
         understands that the U.S. Participant intends to collect personally
         identifiable information such as the gender, age, nationality, name and
         date of birth, or passport number of U.S. citizens as part of the voluntary
         reporting described in paragraph 3 of this Annex.
  d. During application process for authorization for visa free travel (once
       implemented): The GOI processes all travel authorization applications
       under the VWP within a set timeframe (e.g., one week/24 hours.); and
     i. If denied visa-free travel, Israel provides U.S. citizens the opportunity to
           seek a visa or permit.
    ii. The GOI includes data related to processing timelines in the bi-annual
           report as described above.
  e. During application process for visa free entry into Israel:
     i. If denied, GOI provides traveler notice explaining grounds for denial via a
         standard form as well as options available for seeking administrative
         and/or judicial redress to overcome the denial.
    ii. The GOI commits to processing all U.S. citizen applications within a set
         timeframe (e.g., one week) and providing data to verify this is occurring;
         and
  f. At a port-of-entry:
     i. If denied, Israel provides all U.S. citizens a notice of denial. This notice
           should explain that the citizen has been denied entry. The relevant GOI
           official offers to provide the contact information for U.S. Embassy
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         Jerusalem for the traveler to inform the U.S. Embassy if they wish and
         provides options for judicial or administrative redress.

   3) U.S. Citizen Reporting to the USG: The U.S. Embassy maintains a reporting
   option where U.S. citizens who believe they may have been denied a visa,
   permit or entry to Israel or subjected to discriminatory treatment (the
   unfavorable treatment of a person, or group of persons, based on several
   factors which can include their national origin, religion, or ethnicity) at an
   Israeli port of entry may report details of the encounter to the U.S. Embassy,
   for follow up as appropriate and tracking of trends.

   4) Observational Period for Implementation: To evaluate Israel’s
   implementation of the MOU prior to nomination to the VWP, the GOI
   demonstrates that it is fully implementing the MOU and has taken the above
   steps to that end. As part of its evaluation, the USG requests a report from the
   GOI containing information on the total denials, including the reason for the
   denial, and approvals of U.S. citizens on a weekly basis during the observation
   period. The Israeli Participant intends to provide this information, to include
   at least the following information: place of birth, port-of-entry, other
   citizenships. The Israeli Participant understands that the U.S. Participant
   intends to collect personally identifiable information such as the gender, age,
   nationality, name and date of birth, or passport number of U.S. citizens as part
   of the voluntary reporting described in paragraph 3 of this Annex.

   5) Future Changes to Reciprocity Verification: As necessary, the U.S.
   government may modify how it measures and assesses implementation of the
   MOU.

            Consequences of Non-Compliance with VWP Reciprocity

Following admission to the Visa Waiver Program, should the GOI fail to implement
the MOU on Extension of Reciprocal Privileges, the GOI would no longer meet
U.S. VWP program requirements as established in U.S. law. The U.S. government
intends to review implementation of the MOU and this Annex – to include data
collected by Israel and shared with the United States, publication of the
regulations and SOPs, and conformation of on-going training – during its regular
VWP review as described in Section 4 of the MOU. Remedial measures that DHS,
in consultation with the U.S. State Department, may take in response to a failure
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to meet the VWP statutory requirement include, but are not limited to, placing
GOI on provisional status in the VWP, reduction of the ESTA validity period of all
Israeli travelers, suspension of the GOI from the VWP, or termination of the GOI
from the VWP.
                                    Annex B
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                    to the Memorandum of Understanding
                                   between
                     The Government of the State of Israel
                                        And
               The Government of the United States of America
       On Extension of Reciprocal Privileges and the Visa Waiver Program


   As described in Section 3, paragraph 4 of the Memorandum, the security
   environment currently prevents routine travel between Gaza and Israel. For
   its part, the U.S. Participant notes its current published travel warning to all
   U.S. citizens. In light of the Participants’ current security concerns, this Annex
   is intended to describe travel facilitation process for U.S. Residents of Gaza
   (U.S. RG). This process is applicable under current security conditions, and is
   without regard to covered VWP travel by all U.S. citizens, including those listed
   on the Palestinian population registry, as further described in the
   Memorandum. Nothing in this Annex is intended to prevent or restrict a U.S.
   RG located outside of Gaza from applying to enter Israel for covered VWP
   travel consistent with the Memorandum.

   The Israeli Participant intends that the Erez border crossing will not be
   available to U.S. citizens for covered VWP travel at this time. Until such time
   as covered VWP travel is routinely possible from Gaza to Israel, the Israeli
   Participant intends that a U.S. RG may nonetheless, consistent with the
   process described in Section 2, paragraph 3 of the Memorandum for the
   exceptional case of a U.S. citizen denied entry for VWP covered travel due to
   security, criminal, health, or immigration concerns, apply for a visa or permit
   for the purposes of short term travel for business, tourism, or transit to Israel
   through Erez. Acknowledging the unique security environment in Gaza, the
   U.S. Participant understands that Israel will conduct a robust security review of
   such U.S. RG applicants, similar to the process through which Gazans are
   permitted to enter Israel through Erez on worker permits, and each application
   will be adjudicated on a case-by-case basis.

   If denied for a permit or visa to enter Israel through Erez, a U.S. RG traveler
   seeking to travel into and out of Gaza is to submit an application to the PA to
   travel to a third state and return to Gaza. The PA is to forward the application
   to COGAT through an interface that exists between them. Any such travel is to
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    take place through the Allenby Bridge. The application is to be forwarded to
    the Israeli side at least 45 days before the requested departure date and the
    Israeli Participant intends to approve such requests, subject to security review.

    The Israeli Participant intends to provide to the United States data on
    approvals and denials, including the reason for the denial, of U.S. RG requests
    for travel facilitation from a third state to Gaza and from Gaza to a third state
    through this process, as well as U.S. RG applications for permits and visas to
    enter Israel through Erez for short term travel for business, tourism, or transit.
    This information may include: numbers of approvals and denials, U.S. passport
    number or name and date of birth, age, and other citizenships.

    The Israeli Participant also intends that a U.S. citizen with family ties of the first
    degree4 to a Gaza resident may apply for a visit permit to enter Gaza. Such
    application is to be submitted through the COGAT website. The Israeli
    Participant intends that the application specify the family relative the applicant
    intends to visit and their family relations. The Israeli Participant intends to
    examine each application on a case-by-case basis. If approved, the U.S. citizen
    applicant is to receive a tourist permit that would allow the individual a single
    entry to Gaza, for a period of up to 90 days. The Israeli Participant intends that
    a U.S. citizen may apply for such a tourist permit once a year.

    The Participants intend to modify this Annex through mutual decision in
    writing as security conditions improve.




4 Family ties of the first degree include: parents, siblings, and children.
